                1:21-cv-01270-JES-JEH # 19             Filed: 07/11/22      Page 1 of 2
                                                                                                             E-FILED
                                                                              Monday, 11 July, 2022 03:34:11 PM
                                                                                  Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                          PEORIA DIVISION
Dawn Hauger, individually and on                                  1:21-cv-01270-JES-JEH
behalf of all others similarly situated,
                                    Plaintiff,

                                                                     Notice of Voluntary
                      - against -
                                                                          Dismissal

Dollar General Company,
                                    Defendant

         Plaintiff gives notice that this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:     July 11, 2022
                                                             Respectfully submitted,

                                                             Sheehan & Associates, P.C.
                                                             /s/Spencer Sheehan
                                                             Spencer Sheehan
                                                             spencer@spencersheehan.com
                                                             60 Cuttermill Rd Ste 409
                                                             Great Neck NY 11021
                                                             Tel: (516) 268-7080
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                                       Certificate of Service

I certify that on July 11, 2022, I served and/or transmitted the foregoing by the method below to

the persons or entities indicated, at their last known address of record (blank where not applicable).

                                    CM/ECF             First-Class        Email             Fax
                                                          Mail
 Defendant’s Counsel                    ☒                  ☐                ☐               ☐
 Plaintiff’s Counsel                    ☒                  ☐                ☐               ☐
 Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                            /s/ Spencer Sheehan




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